Case 4:17-Cv-00534-CVE-FHI\/| Document 2-3 Filed in USDC ND/OK on 09/21/17 Page 1 of 12

EXHIBIT 3

Case 4:17-Cv-00534-CVE-FHI\/| Document 2-3 Filed in USDC ND/OK on 09/21/17 Page 2 of 12

 

' FlLED lN THE msmlcr couRT
MAY ss co 0KLAH0MA

AUG 2 5 2017

RIT."'H n. o -i C
ev .1. issuer E§§§F§§

  
  
  

 

    

       

IN THE DISTRICT COUT IN AND FOR MAYES COUNTY

STATE OF OKLAHOMA
MICHAEL 'l`. TORRONE, JR., )
)
Plaintiff, )
)
v. ) n CaseNo cs)'\ \.l §55
)
SAFECO INSURANCE COMPANY ) JURY TRIAL DEMANDED
OF AMERICA, a Washington corporation, )
) ATTORNEY’S LIEN CLAIMED
Defendant. )

PETITION
COMES NOW, the Plaintiff, Michael T. Torrone, Jr. (“Plaintift”), by and through his
undersigned attorneys, the law firm of Logan & Lowry, LLP, and for his Petition and claims for
relief against Defendant, Safeco lnsurance Company of America, a Washington corporation
(“Defendant”), alleges and states as follows:
l. JURISDICTION
l. Plaintiff was at all relevant times insured by Defendant per the Oklahorna
Personal Auto Policy, No. Y7479424 (“Policy”).
2. Upon information and belief, Defendant is a Washington corporation authorized
to conduct business in Oklahoma.
3. Plaintiff resides in Mayes County, Oklahoma, and the causes of action arose
therein, thus this Court has jurisdiction and venue is proper pursuant to Okla. Stat. tit. 12, § 137.
II. BACKGROUND
4. On or about July l4, 2016, Plaintift`s 2013 Dodge Ram 1500 pick-up truck

(“Vehicle”) was in a single-vehicle collision when tornadic winds and heavy rainfall forced the

Page 1

 

Case 4:17-Cv-00534-CVE-FHI\/| Document 2-3 Filed in USDC ND/OK on 09/21/17 Page 3 of 12

Vehicle to shift on the roadway, spin, and collide with the concrete median separating eastbound
and westbound traffic on Interstate 44 in Oklahoma.

5. The collision resulted in extensive damage to the Vehicle, including a
damaged/bent frame, and rendered the Vehicle inoperable.

6. Plaintiff and Defendant are parties to a contract where Defendant was to provide,
and Plaintiff was to pay for, an Oklahoma Personal Auto Policy covering, among other things,
loss to the Vehicle (“Policy”).

7. All premiums owed under the Policy at the time of loss were paid and the Policy
was effective when the collision occurred.

8. Plaintiff timely notified Defendant of the loss, including a description of the
property involved, and took reasonable steps to protect the Vehicle from further damage as
directed by Defendant. Plaintiff further informed Defendant of the significant burden placed on
him and his sheep and cattle business resulting from the Vehicle damage and the same being
rendered inoperable. Plaintiff informed Defendant of impending business operations that would
require renting a Vehicle capable of performing ranching activities while the Vehicle remained
inoperable.

9. Immediately following the collision, Plaintiff` had the truck transported from
Stroud, Oklahoma, to Larry’s Body Work 2.0, LLC (“Larry’s”) in Vinita, Oklahoma.

10. Upon initial inspection, Larry’s informed Plaintiff that the Vehicle’s frame
“horns” were bent, and Plaintiff understood from Larry’s that frame horns can be soldered off the
frame and new frame horns Welded to the frame assembly.

11. Plaintiff informed Larry’s that, as a result of the collision, the steering wheel was

extremely loose, moved without any resistance, and was turned left when the wheels were

Page 2

Case 4:17-Cv-00534-CVE-FHI\/| Document 2-3 Filed in USDC ND/OK on 09/21/17 Page 4 of 12

straight Additionally, the “no-traction” Warning was displayed and the front passenger door
would not properly open because the entire front end was twisted to the right.

12. On or about July 15, 2016, Larry’s informed Plaintiff of its damage estimate,
which included estimated repair costs to be in excess of $9,119.50 (“Larry’s Estimate”).
Larry’s Estimate did not include services associated with soldering off the bent frame horns as
initially stated. Rather, Larry’s Estimate contemplated subletting the frame work. Upon
inquiry, Larry’s explained the frame work would consist of bending the frame back into
alignment. Larry’s estimate also failed to address any issues with the steering wheel or column
or the “no-traction” warning

l3. During a telephone conversation between Larry’s and Plaintiff regarding Larry’s
Estimate, Plaintiff understood that Larry’s considered the estimated damages and repair costs to
equal approximately “60% of Vehicle value,” but Larry’s anticipated supplemental repairs above
the repairs identified in Larry’s Estimate.

l4. On or about July 26, 2016, Defendant engaged an independent adjuster, Joseph
Their (“Defendant’s Adj uster”), to assess the damage to the Vehicle.

15. Defendant’s Adjuster created a damage report dated July 27, 2016 (“Defendant’s
Report”), that considered using salvage parts that are not acceptable under the policy and, per-
Larry’s, were not in a proper/adequate condition to be installed Defendant’s Report failed to
address issues with the steering wheel or column, the “no~traction” warning, or an alignment
(“Defendant’s Report”). Defendant’s Report estimated the total cost of repairs at $7,642.20,
$1,477.30 less than Larry’s Estimate. Defendant’s Report is attached hereto as E_xle__l_t_A

l6. Defendant’s Report also concluded that the “[t]otal loss threshold reached”

relative to the Vehicle damage See Exhibit A at p. ll (p. 2 of “Clairn Summary”).

Page 3

Case 4:17-Cv-00534-CVE-FHI\/| Document 2-3 Filed in USDC ND/OK on 09/21/17 Page 5 of 12

l7. Subsequent to furnishing Plaintiff with Defendant’s Report, Defendant’s agent,
Malcolm King (“Defendant’s Agent”), contacted Plaintiff and informed him that the Vehicle
would not be considered a total loss. During a conversation with Plaintiff, Mr. King discussed
total loss threshold percentages and values being different from state, but indicated he did not
know what percentage was required to reach the Oklahoma total loss threshold.

18. Plaintiff` requested an explanation considering the significant damage to the
Vehicle, including the frame, Larry’s approximation that the repairs equated to 60% of value,
and Defendant’s Adjuster findings that the total loss threshold had been reached.

19. Plaintiff also notified Defendant’s Agent that Okla, Stat. tit. 47, § llll obligates
Defendant and Plaintiff to follow certain procedures upon the total loss threshold being reached.
Specifically, Okla. Stat. tit. 47, § 1111 (C)(l) states:

If an insurance company pays a claim for a loss which is less than a total
loss but the cost of repairing the vehicle for safe operation on the highway
exceeds sixty percent (60%) of the fair market value of the vehicle . . . any
holder of the certificate of title for the vehicle shall return the certificate of
title to the Tax Commission or a motor license agent within thirty (30)
days from receipt of payment for the loss.

20. ln an attempt to “explain” the findings of Defendant’s Adjuster and the express
written statement in Defendant’s Report - “[t]otal loss threshold reached,” Defendant’s Agent
asserted that the statement was printed on every report by default. Upon information and
belief, “[t]otal loss threshold reached” is not printed on every report by default and Defendant
knowingly and intentionally mispresented the same to be true in an effort to deceive the Plaintiff.

21. Defendant’s Agent also informed Plaintiff that an evaluation was made on the

Vehicle’s market value in a further attempt to justify Defendant’s decision not to declare the

Vehicle totaled. However, Defendant’s Agent subsequently sent an email to Plaintiff on August

Page 4

Case 4:17-Cv-00534-CVE-FHI\/| Document 2-3 Filed in USDC ND/OK on 09/21/17 Page 6 of 12

10, 2016, presumably trying to offer “supporting” evaluation documents, but this email
correspondence clearly evinces that a formal evaluation had not yet been conducted.

22. Defendant continued its behavior of refusing to acknowledge that the total loss
threshold had been reached relative to the Vehicle, and issued a check to Plaintiff dated August
25, 2016, in the amount of $7,142.20 (the amount listed in Defendant’s Report).

23. Plaintiff declined to accept, sign, or otherwise negotiate the check as the same
represented Defendant’s attempts to escape its legal obligations arising under the Policy and
Oklahoma law.

24. As a result of Defendant’s conduct, Plaintiff was forced to rent a vehicle suitable
for conducting ranch operations and incurred rental charges in the amount of $1,086.86.

25, Plaintiff also incurred storage fees of $630.00 associated with the Vehicle being
kept at Larry’s and additional fees of $l92.00 for towing the Vehicle immediately after the
collision to Larry’s and then from Larry’s to Plaintiff"s ranch.

26. On or about September 2, 2016, Plaintiff was forced to purchase a vehicle to
enable him to continue operating his ranch business as his Vehicle remained inoperable.
Plaintiff purchased a 2002 RAM 3500 (“Cover Vehicle”) for the total purchase price of
$10,454.00 and also incurred fees of $316.50 for title, tax, registration, and related charges. As
of the date of filing this Petition, Plaintiff has made eleven (l l) payments of $311.25 per month,
or $3,423.75 total, for the Cover Vehicle,

27._ Upon Plaintiff contacting his insurance agent to procure insurance for the Cover
Vehicle, he learned that Defendant erroneously reporting the collision as an “at-fault” accident
The collision Was unquestionably caused by an act of god, i.e., tornadic storm. As a result,

Plaintiff was forced to pay an exorbitantly higher amount for auto insurance than he would have

Page 5

Case 4:17-Cv-00534-CVE-FHI\/| Document 2-3 Filed in USDC ND/OK on 09/21/17 Page 7 of 12

if Defendant had correctly reported the cause of the collision (nearly $1,000 more per year or
$83.29 per month). As of the date of filing this Petition, Plaintiff has paid a total of $916.19 in
excessive insurance premiums Plaintiff will continue to be damaged When procuring vehicle
insurance so long as the reason for the collision remains falsely reported.

28. Defendant’s improper conduct and refusal to comply with its obligations under
the Policy has resulted in Plaintiff’s inability to exercise its rights under a certain IAS GAP
insurance policy (“GAP Policy”) procured when Plaintiff purchased the Vehicle. As a result,
Plaintiff has paid a total of $6,841.76 in unnecessary payments on the Vehicle from August,
2016 through August, 2017 (with payments continuing to come due on a monthly basis).
Further, under Plaintiff’ s GAP Policy, IAS or other appropriate payor would have satisfied the
difference between the salvage value of the Vehicle and the amount owed to Plaintiff’ s lender
upon the Vehicle being totaled. As of the filing date hereof, the current payoff balance on the
Vehicle is $21,358.60.

29. By letter dated November 11, 2016, Plaintiff again urged Defendant to comply
with its legal and contractual obligations owed to Plaintiff under the Policy requesting recovery
for its other legal damages, but Defendant declined to comply. Rather, another agent of the
Defendant changed the position offered by Defendant’s Agent regarding “total loss threshold
reached” being printed on every report by default when stating that such phrase is merely an
internal/company statement and not meant to have any legal meaning regarding the total loss
threshold.

30. In June, 2017, Plaintiff engaged a highly reputable and qualified vehicle repair

business in northeast Oklahoma to perform a damage assessment on the Vehicle, The estimate

Page 6

Case 4:17-ov-00534-CVE-FHI\/| Dooument 2-3 Filed in USDC ND/OK on 09/21/17 Page 8 of 12

shows initial estimated repair costs as $14,966.94. In the estimate, the frame assembly is to be
replaced not repaired.

31. Defendant has refused to acknowledge that the Vehicle is a total loss and has not
complied with its obligations owed to Plaintiff under the law and the Policy,

32. Due to Defendant’s continued failure to comply with the terms of the Policy,
Plaintiff‘s damages continue to accrue.

III. CLAIMS FOR RELIEF
Count I: Breach of Contract

33. Plaintiff incorporates the allegations contained in Paragraphs 1 through 23 above
as if Set forth in Count l in full.

34. Defendant is contractually obligated under the Policy to declare the Vehicle a
total loss and compensate Plaintiff for such loss.

35. Defendant has breached its contract with Plaintiff because it refused to declare the
Vehicle a total loss and has not compensated Plaintiff for such loss.

36. As a direct and proximate result of Defendant’s breach of contract, Plaintiff has
suffered harm for which he is entitled to recover damages in the amount of $11,498.20 for cost
of the Cover Vehicle, excess insurance premiums, unnecessary payments due under the current
Vehicle note, plus the appropriate salvage value of the Vehicle, the difference between the
salvage value and the payoff balance of the Vehicle as of the date of filing hereof, prejudgment
and post-judgment interest, attorney’s fees, costs incurred, any and all other damages permissibly
recovered under the law governing breach of contract, and additional damages accruing by virtue

of Defendant’s continued refusal to abide by the terms of the Policy and Oklahoma law.

Page 7

Case 4:17-ov-00534-CVE-FHI\/| Dooument 2-3 Filed in USDC ND/OK on 09/21/17 Page 9 of 12

Count II: Bad Faith

37. Plaintiff incorporates the allegations contained in Paragraphs l through 27 as if
set forth in Count II in full.

38. Defendant is contractually obligated under the Policy to declare the Vehicle a
total loss and compensate Plaintiff for such loss.

39. Defendant’s refusal to declare the Vehicle a total loss and compensate Plaintiff for
such loss was unreasonable under the circumstances because: (i) Defendant’s Adjuster
determined the total loss threshold to be reached; the damage to the Vehicle exceeded the total
loss threshold under Oklahoma law; (ii) Defendant’s Report considers using salvage parts that
are not acceptable under the policy, it did not address issues with the steering wheel or column,
the “no-traction” warning, an alignment, and failed to properly call for the replacement of the
frame assembly; and (iii) Defendant failed to adequately investigate the cause of the accident.

40. Moreover, Defendant improperly reported the collision as an “at-fault” accident
when the collision was actually caused by an uncontrollable act of god.

41. Further, during the claim process, Defendant intentionally made false assertions
attempting to justify its refusal to fully compensate Plaintiff for his loss. Such assertions include,
without limitation, Defendant’s agent stating to Plaintiff that an evaluation was performed to
determine the Vehicle’s fair market value when no formal evaluation was conducted,
Defendant’s agent erroneously stating that “[t]otal loss threshold reached” is printed by default
on every damage report, and subsequently changing that position upon Plaintiff reasserting

Defendant’s obligations under Oklahoma regarding total loss threshold.

Page 8

Case 4:17-ov-00534-CVE-FHI\/| Dooument 2-3 Filed in USDC ND/OK on 09/21/17 Page 10 of 12

42. Defendant’s conduct was unreasonable under the circumstances, as well as
fraudulent, oppressive, outrageous, vexatious, reckless, indifferent to the rights of others, willful,
wanton, and/or made for a dishonest purpose

43. Defendant thereby intentionally and maliciously violated its duty of good faith
and fair dealing with Plaintiff.

44. As a direct and proximate result of Defendant’s breach of its duty of good faith
and fair dealing, Plaintiff has suffered harrn, including mental anguish, and incurred costs and
attorney’s fees for which he is entitled to recover damages, including punitive damages, in
excess of $10,000.00.

Count III: Fraud and Misrepresentation

45. Plaintiff incorporates the allegations contained in Paragraphs 1 through 44 as if
set forth in Count III in full.

46. As set forth above, in an attempt to deceive Plaintiff, Defendant knowingly and
intentionally or recklessly misrepresented that Plaintiff’s vehicle had not reached the “[total loss
threshold” and/or that “[t]otal loss threshold reached” is printed on every report by default.

47. Defendant deceptive actions constitute fraud and/or constructive fraud and
resulted in Plaintiff suffering harm for which he is entitled to recover damages, along with
punitive damages, in excess of $10,000.00.

Count IV: Tortious Interference with Contract
48. Plaintiff incorporates the allegations contained in Paragraphs 1 through 47 as if

set forth in Count IV in full.

Page 9

Case 4:17-ov-00534-CVE-FHI\/| Dooument 2-3 Filed in USDC ND/OK on 09/21/17 Page 11 of 12

49. Defendant’s actions constitute tortuous interference with Plaintiff’s existing and
contractual business relations under Oklahoma law, with respect to Plaintiff’s GAP Policy, as set
forth above.

50. Plaintiff informed Defendant of such contractual relationship regarding the GAP
Policy, and Defendant’s interference with such contractual relationship is not justified.

51. Defendant’s tortious interference with Plaintiff"s contractual relationship with
respect to the GAP Policy resulted in Plaintiff suffering harm for which he is entitled to recover
damages, along with punitive damages, in excess of $l0,000.00.

IV. REQUESTS FOR RELIEF

WHEREFORE, Plaintiff prays the following relief be granted:

i) Judgment against Defendant for breach of contract in the amount of $11,498.20 for
cost of the Cover Vehicle, excess insurance premiums, unnecessary payments due under the
current Vehicle note, plus the appropriate salvage value of the Vehicle, the difference between
the salvage value and the payoff balance of the Vehicle as of the date of filing hereof,
prejudgment and post-judgment interest, attorney’s fees, costs incurred, any and all other
damages permissibly recovered under the law governing breach of contract, and additional
damages accruing by virtue of Defendant’s continued refusal to abide by the terms of the Policy
and Oklahoma law;

ii) Judgment against Defendant for oompensatory, punitive, and any other damages
allowed by law in excess of $10,000.00 for violating its duty of good faith and fair dealing and
for fraud and misrepresentation;

iii) Judgment against Defendant for tortious interference with contract in the amount

to be determined at trial, to date, Plaintiff has made $6,841.76 in unnecessary payments on the

Page 10

Case 4:17-ov-00534-CVE-FHI\/| Dooument 2-3 Filed in USDC ND/OK on 09/21/17 Page 12 of 12

Vehicle from August, 2016 through August, 2017 (with payments continuing to come due on a

monthly basis); and
iv) Prejudgment and post-judgment interest as provided by law; for an award of all
reasonable attorney’s fees and costs incurred herein; and for any and all such other relief as this

Court deems appropriate in the interest of justice.
,¢7
Dated this day of August, 2017.

Respectfully submitted,

LOGAN & LOWRY, LLP
101 South Wilson Street
P. O. Box 558 /
vinita, oK 74301 ,/
(918) 256-7511 `

(918) 256-3187 (Fax)

rolsen@loganlowry.com

Attomeys f T. Torrone, Jr.

 

l j ~`\

By:

 

Ryan H. Olsen, OBA #31177

Page 11

